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    Adam Gcldm n




Adam Goldman. 2nd
      1




Reporte, al The Ne York Times


     Adami Goldm n • 3 52 ·�

     Greetimgs

      Hi Rodney. This, is Ad m Goldman. I m a1 r perter tor The
      New Yori Times. We need to clilal pleas.e. Or have you.r
      I wyer ca:11 m . I am work11 ng on ,a ro,y and mighl n ma
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                 EXHIBIT B
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Tyrrell, Steven

From:                            Tyrrell, Steven
Sent:                            Thursday, September 16, 2021 9:52 PM
To:                              'David Voreacos'
Subject:                         RE: Request for comment on Rodney Joffe from Bloomberg reporter David Voreacos


Hi David. Hope all is well. I am unable to make any comment at this time. Regards, Steve

From: David Voreacos (BLOOMBERG/ NEWSROOM:
Sent: Thursday, September 16, 20218:25 PM
To: Tyrrell, Steve
Subject: Request for comment on Rodney Joffe from Bloomberg reporter David Voreacos

Hi Steve, it's been a long time since we spoke, and I hope that you're surviving the pandemic in
good health. I'm still a reporter at Bloomberg News, and I'm helping to cover the indictment of
Michael Sussmann.

I saw in the New York Times story yesterday that you represent the researcher who brought his
concerns about Alfa Bank to Mr. Sussmann. I understand shat your client, who is referred to in the
indictment at Tech Executive-1, is Rodney Joffe of Neus�ar Security. I know that Mr. Joffe has had
a long career in cybersecurity, which is documented in references such as these:

https://icannwiki.org/Rodney Joffe
''Rodney Joffe regularly briefs the White House, Executive Departments and Agencies, and
Congressional offices on the subject of cybersecurity.' •

https://gnso.icann.org/sites/default/files/filefield 13823/application-joffe-cv-l4jull0-en.pdf

https://www.reuters.com/article/oukin-uk-cybersecurity-congress-idUKTRE5406U32009050l

https://www.c-span.org/person/?1005807/RodneyJoffe

Can you confirm Mr. Joffe's identify as Tech Executive-1 in the indictment? Are you able to discuss
his role in the investigation? My cell is             . Thanks for your consideration. -David
Voreacos
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David Voreacos
Bloomber News




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Tyrrell, Steven

From:                    David Voreacos (BLOOMBERG/ NEWSROOM:)
Sent:                    Friday, September 17, 2021 2:43 PM
To:                      Tyrrell, Steven
Subject:                 Bloomberg News request again fo- comment on Rodney Joffe


Hi Steve, thanks for your response to my email last night. I'm writing again to say   that we are
preparing to report that Rodney Joffe is t�e person referred to as Tech Executive-1   in the Michael
Sussmann indictment. Do you have a comment about that or the research that Sussmann   presented to
the FBI general counsel on Sept. 19, 2016? My cell is             . Thanks for your   consideration.
 David

David Voreacos
Bloomber News
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